              Case 19-00717-JMM                      Doc 1        Filed 06/26/19 Entered 06/26/19 11:18:55                                Desc Main
                                                                  Document     Page 1 of 67
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF IDAHO, BOISE DIVISION

Case number (if known)                                                         Chapter you are filing under:

                                                                                Chapter 7
                                                                                Chapter 11
                                                                                Chapter 12
                                                                                Chapter 13                                        Check if this an amended
                                                                                                                                    filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together²called a joint
case²and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, ³Do you own a car,´ the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       Matthew                                                         Sara
     your government-issued          First name                                                      First name
     picture identification (for
     example, your driver's          Carter                                                          Michele
     license or passport).           Middle name                                                     Middle name
     Bring your picture
     identification to your meeting
                                    True                                                             True
     with the trustee.              Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years                                                                        FKA Sara M Knarr
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-4261                                                     xxx-xx-8577
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
              Case 19-00717-JMM                  Doc 1        Filed 06/26/19 Entered 06/26/19 11:18:55                                Desc Main
                                                              Document     Page 2 of 67
Debtor 1
Debtor 2   True, Matthew Carter & True, Sara Michele                                                   Case number (if known)




                                 About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and       I have not used any business name or EINs.
     Employer Identification
     Numbers (EIN) you have      FDBA FlyTrue Transport
     used in the last 8 years    FDBA FlyTrue Transport LLC                                      I have not used any business name or EINs.
                                 FDBA FlyTrue Trucking LLC
                                 DBA True Enterprises 7 Inc.
     Include trade names and     Business name(s)                                               Business name(s)
     doing business as names
                                 XX-XXXXXXX
                                 XX-XXXXXXX
                                 XX-XXXXXXX
                                 XX-XXXXXXX
                                 EINs                                                           EINs




5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                 321 S Cotterell Dr
                                 Boise, ID 83709-0312
                                 Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                 Ada
                                 County                                                         County

                                 If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any      here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                        address.



                                 Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                  Check one:
     bankruptcy                        Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other            Over the last 180 days before filing this petition, I have
                                        district.                                                        lived in this district longer than in any other district.

                                       I have another reason.                                          I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                 Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 2
              Case 19-00717-JMM                    Doc 1        Filed 06/26/19 Entered 06/26/19 11:18:55                                 Desc Main
                                                                Document     Page 3 of 67
Debtor 1
Debtor 2    True, Matthew Carter & True, Sara Michele                                                       Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                     Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee           I will pay the entire fee when I file my petition. Please check with the clerk¶s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier¶s check, or money order.
                                         If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                         pre-printed address.
                                        I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                         Filing Fee in Installments (Official Form 103A).
                                        I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                         not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                         your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                         to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the last
                                   No.
     8 years?                      Yes.
                                              District                                   When                             Case number
                                              District                                   When                             Case number
                                              District                                   When                             Case number



10. Are any bankruptcy cases
    pending or being filed by
                                   No
    a spouse who is not filing     Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                              Debtor                                                                     Relationship to you
                                              District                                   When                            Case number, if known
                                              Debtor                                                                     Relationship to you
                                              District                                   When                            Case number, if known



11. Do you rent your
    residence?
                                   No.        Go to line 12.

                                   Yes.       Has your landlord obtained an eviction judgment against you?

                                                        No. Go to line 12.

                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of this
                                                         bankruptcy petition.




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 3
              Case 19-00717-JMM                     Doc 1         Filed 06/26/19 Entered 06/26/19 11:18:55                                Desc Main
                                                                  Document     Page 4 of 67
Debtor 1
Debtor 2    True, Matthew Carter & True, Sara Michele                                                         Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.        Go to Part 4.
    business?
                                      Yes.       Name and location of business
     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?

     For a definition of small
                                      No.        I am not filing under Chapter 11.

     business debtor, see 11
     U.S.C. § 101(51D).               No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.

                                      Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                      No.
    alleged to pose a threat of       Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
              Case 19-00717-JMM                    Doc 1        Filed 06/26/19 Entered 06/26/19 11:18:55                                Desc Main
                                                                Document     Page 5 of 67
Debtor 1
Debtor 2    True, Matthew Carter & True, Sara Michele                                                     Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a
    briefing about credit
                                      Icounseling
                                           received a briefing from an approved credit
                                                      agency within the 180 days before I
                                                                                                      Icounseling
                                                                                                          received a briefing from an approved credit
                                                                                                                     agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                        I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                               Incapacity.                                                   Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                               Disability.                                                   Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                               Active duty.                                                  Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 5
              Case 19-00717-JMM                    Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                    Desc Main
                                                               Document     Page 6 of 67
Debtor 1
Debtor 2    True, Matthew Carter & True, Sara Michele                                                        Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as ³incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.´
                                              No. Go to line 16b.
                                              Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                              Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that after
     any exempt property is
                                    Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
                                             paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses
     are paid that funds will be
                                              No
     available for distribution               Yes
     to unsecured creditors?

18. How many Creditors do           1-49                                            1,000-5,000                                 25,001-50,000
    you estimate that you                                                            5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities to    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be?
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Matthew True                                                   /s/ Sara True
                                   Matthew Carter True                                                Sara Michele True
                                   Signature of Debtor 1                                              Signature of Debtor 2

                                   Executed on      June 21, 2019                                     Executed on      June 21, 2019
                                                    MM / DD / YYYY                                                     MM / DD / YYYY




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
             Case 19-00717-JMM                     Doc 1         Filed 06/26/19 Entered 06/26/19 11:18:55                                 Desc Main
                                                                 Document     Page 7 of 67
Debtor 1
Debtor 2   True, Matthew Carter & True, Sara Michele                                                         Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ J Bart Green                                                      Date         June 21, 2019
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                J Bart Green
                                Printed name

                                J. Bart Green, PLLC
                                Firm name


                                870 N Linder Rd Ste B
                                Meridian, ID 83642-4392
                                Number, Street, City, State & ZIP Code

                                Contact phone    (208) 898-9978                                 Email address         bartgreen@cableone.net
                                3810
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
               Case 19-00717-JMM                              Doc 1        Filed 06/26/19 Entered 06/26/19 11:18:55                                     Desc Main
                                                                           Document     Page 8 of 67
               Fill in this information to identify your case and this filing:

 Debtor 1                    Matthew Carter True
                             First Name                             Middle Name                     Last Name

 Debtor 2                    Sara Michele True
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     DISTRICT OF IDAHO, BOISE DIVISION

 Case number                                                                                                                                                 Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.       Where is the property?




 1.1                                                                        What is the property? Check all that apply


        321 S Cotterell Dr
                                                                                   Single-family home                         Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                                    Duplex or multi-unit building
        Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative
                                                                              
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Boise                             ID        83709-0312                     Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                              $385,000.00                 $385,000.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                   Debtor 1 only
        Ada                                                                        Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                                   At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:

                                                                            Debtros' Primary Residence


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                         $385,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
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            Case 19-00717-JMM                        Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                  Desc Main
                                                                 Document     Page 9 of 67
 Debtor 1
 Debtor 2         True, Matthew Carter & True, Sara Michele                                                  Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1    Make:                                              Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
         Model:                                              Debtor 1 only                                         Creditors Who Have Claims Secured by Property .
         Year:                                               Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                                Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
        2017 KTM 300 XCW Dirt bike
                                                             Check if this is community property                            $5,500.00                  $5,500.00
                                                               (see instructions)



  3.2    Make:                                              Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
         Model:                                              Debtor 1 only                                         Creditors Who Have Claims Secured by Property .
         Year:                                               Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                                Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
        2018 Big Tex 22 GN Trailer
                                                             Check if this is community property                            $6,000.00                  $6,000.00
                                                               (see instructions)



  3.3    Make:                                              Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
         Model:                                              Debtor 1 only                                         Creditors Who Have Claims Secured by Property .
         Year:                                               Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                                Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
        2008 Ford Fusion
                                                             Check if this is community property                            $3,500.00                  $3,500.00
                                                               (see instructions)



  3.4    Make:                                              Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
         Model:                                              Debtor 1 only                                         Creditors Who Have Claims Secured by Property .
         Year:                                               Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                                Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
        2001 Dodge Ram 3500
                                                             Check if this is community property                            $5,500.00                  $5,500.00
                                                               (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes
  4.1    Make:                                              Who has an interest in the property? Check one
                                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
         Model:                                              Debtor 1 only                                         Creditors Who Have Claims Secured by Property .
         Year:                                               Debtor 2 only                                         Current value of the      Current value of the
                                                             Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
                                                             Check if this is community property                          $3,700.00                    $3,700.00
         2000 Take 3 52' car trailer                           (see instructions)




Official Form 106A/B                                                 Schedule A/B: Property                                                                     page 2
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            Case 19-00717-JMM                        Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                     Desc Main
                                                                Document      Page 10 of 67
 Debtor 1
 Debtor 2         True, Matthew Carter & True, Sara Michele                                                    Case number (if known)

  4.2    Make:                                              Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                              Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
         Year:                                               Debtor 2 only                                            Current value of the      Current value of the
                                                             Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
         2005 snowmobile - parts only,                       Check if this is community property                                  $75.00                      $75.00
         not in working order                                  (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                $24,275.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.    Describe.....
                                   pots, pans, kitchen utensils, (2) toasters, blender, coffee pot,
                                   crock pot, cups, glasses, dishes, stainless flatware, towels,
                                   linens, (2) microwaves, refrigerator                                                                                        $640.00

                                   kitchen table, (6) kitchen chairs, (2) couches, love seat, (3) coffee
                                   tables, (2) end tables                                                                                                      $750.00

                                   (2) desks, (2) beds, (2) dressers                                                                                           $750.00

                                   (4) chest of drawers, night table, hope chest, (5) lamps, (5) board
                                   games, aquarium, animal carrier, children's toys, jewelry box                                                               $415.00

                                   Christmas decor, trash baskets, curling iron, blow dryer, (2)
                                   vacuum cleaners, (3) rugs, iron, ironing board, laundry hamper,
                                   laundry baskets, hangers, humidifier                                                                                        $685.00

                                   lawn mower, misc yard tools, table saw, router                                                                              $700.00

                                    wrenches & screwdrivers, power hand tools                                                                                  $650.00

                                   hand saws, hammers, socket wrenches, air compressor, shop
                                   vacuum, weights, (3) coolers                                                                                                $370.00

                                   torch, misc building products, (2) tool chests, steel cutter, 15
                                   gallon weed sprayer, generator, leaf catcher, irrigation pump
                                   power tool pack                                                                                                             $750.00

                                   washer & dryer                                                                                                              $750.00

                                   Food saver vacuum sealer                                                                                                    $250.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
     Yes.    Describe.....
                                   (3) tvs, (2) stereos, (3) computers, (2) printers, (2) scanners                                                             $750.00



Official Form 106A/B                                                 Schedule A/B: Property                                                                        page 3
Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-00717-JMM                        Doc 1    Filed 06/26/19 Entered 06/26/19 11:18:55                                 Desc Main
                                                             Document      Page 11 of 67
 Debtor 1
 Debtor 2       True, Matthew Carter & True, Sara Michele                                               Case number (if known)

                                   vcr, dvd player, (2) cameras, (2) XBox game consoles, XBox
                                   games & accessories                                                                                                  $470.00

                                   Verizon signal booster, (2) cell phones                                                                              $750.00

                                   (2) Airpod ear buds, sub 3 amp                                                                                       $200.00

                                   (2) Apple watches                                                                                                    $600.00

                                   IPhone                                                                                                               $300.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.    Describe.....
                                   photo albums, music cds, dvd movies, books, pictures,
                                   knic-knacs, piano                                                                                                    $565.00

                                   Peavey Raptor Plus Electric Guitar - $35.00, Fender Squier -
                                   $50.00, Epiphone Les Paul - $100.00, Univox - $5.00, Peavy Bandit
                                   amp - $30.00                                                                                                         $220.00


9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.    Describe.....
                                   (3) bicycles, tent, (3) sleeping bags, misc camping gear                                                             $635.00

                                   misc fishing gear, snow skis, boots, poles                                                                           $350.00

                                   drumset, dirtbike gear                                                                                               $225.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.    Describe.....
                                   Ruger 10/22 rifle, ammunition                                                                                         $75.00

                                   .177 pellet gun, pellets                                                                                              $20.00

                                   .22 pellet gun, pellets                                                                                               $40.00


11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.    Describe.....
                                   debtor clothing, dependent clothing                                                                                  $600.00

                                   joint debtor clothing                                                                                                $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.    Describe.....
                                   men's wedding ring, men's watch, women's wedding ring                                                                $715.00

Official Form 106A/B                                           Schedule A/B: Property                                                                       page 4
Software Copyright (c) 2019 CINGroup - www.cincompass.com
             Case 19-00717-JMM                                     Doc 1            Filed 06/26/19 Entered 06/26/19 11:18:55                         Desc Main
                                                                                   Document      Page 12 of 67
 Debtor 1
 Debtor 2          True, Matthew Carter & True, Sara Michele                                                                Case number (if known)

                                             women's watch, women's misc jewelry                                                                                   $170.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....
                                            cat                                                                                                                       $5.00

                                            dog                                                                                                                       $5.00

                                            (9) fish                                                                                                               $200.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                          $14,105.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                         Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                               Cash                                  $75.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                              17.1.       Checking Account                       ICCU - Acct #3985                                                   $11.24



                                              17.2.       Checking Account                       ICCU - Acct #5262                                                 $113.86



                                              17.3.       Checking Account                       Key Bank - Acct #3001 - Business checking                            $9.92



                                              17.4.       Checking Account                       US Bank - #3396                                                      $9.13



                                              17.5.       Checking Account                       ICCU - #4989                                                        $20.00



                                              17.6.       Savings Account                        ICCU- #3941                                                          $0.84




Official Form 106A/B                                                                     Schedule A/B: Property                                                        page 5
Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-00717-JMM                          Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                             Desc Main
                                                                  Document      Page 13 of 67
 Debtor 1
 Debtor 2        True, Matthew Carter & True, Sara Michele                                                    Case number (if known)



                                        17.7.   Checking Account           ICCU - #4997                                                         $203.14


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
    Yes..................          Institution or issuer name:
                                                Debtor's 4.98% membership interest in The Kenneth E. Carter and
                                                Shirley R. Carter Family LLC - The LLC owns approx 97 acres of
                                                undeveloped land in Colorado estimated FMV $2.5-3.0MM, debtor's
                                                approx interest $125-150K. The LLC has bank accounts with
                                                balance of approx $30K. Debtor's share approx $1,500.00.                                            $0.00


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
     No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                            % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers¶ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                           Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                                        Type of account:                   Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                           Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes.     Give specific information about them...


Official Form 106A/B                                                  Schedule A/B: Property                                                        page 6
Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-00717-JMM                            Doc 1          Filed 06/26/19 Entered 06/26/19 11:18:55                                           Desc Main
                                                                       Document      Page 14 of 67
 Debtor 1
 Debtor 2        True, Matthew Carter & True, Sara Michele                                                                  Case number (if known)


 Money or property owed to you?                                                                                                                            Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers¶ compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.     Give specific information..
                                                        Income from True Enterprises 7 Inc. for july that has been
                                                        earned but not yet paid                                                                                        $6,200.50


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner¶s, or renter¶s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                                         Beneficiary:                               Surrender or refund
                                                                                                                                                            value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
     No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes.     Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.     Give specific information..
                                                        Money owed to FlyTrue Enterprises from Williams Hay LLC,
                                                        121 E 6Th St, Rupert, ID 83350                                                                                      $0.00


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................            $6,643.63

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.    Go to line 38.

Official Form 106A/B                                                        Schedule A/B: Property                                                                           page 7
Software Copyright (c) 2019 CINGroup - www.cincompass.com
             Case 19-00717-JMM                                Doc 1           Filed 06/26/19 Entered 06/26/19 11:18:55                                               Desc Main
                                                                             Document      Page 15 of 67
 Debtor 1
 Debtor 2         True, Matthew Carter & True, Sara Michele                                                                             Case number (if known)



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.      Go to line 47.



 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00

 Part 8:         List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2 ......................................................................................................................             $385,000.00
 56. Part 2: Total vehicles, line 5                                                                           $24,275.00
 57. Part 3: Total personal and household items, line 15                                                      $14,105.00
 58. Part 4: Total financial assets, line 36                                                                   $6,643.63
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $45,023.63              Copy personal property total          $45,023.63

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $430,023.63




Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 8
Software Copyright (c) 2019 CINGroup - www.cincompass.com
               Case 19-00717-JMM                     Doc 1         Filed 06/26/19 Entered 06/26/19 11:18:55                                   Desc Main
                                                                  Document      Page 16 of 67
              Fill in this information to identify your case:

 Debtor 1                 Matthew Carter True
                          First Name                        Middle Name                      Last Name

 Debtor 2                 Sara Michele True
 (Spouse if, filing)      First Name                        Middle Name                      Last Name


 United States Bankruptcy Court for the:            DISTRICT OF IDAHO, BOISE DIVISION

 Case number
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions²such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds²may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

                                                                                                                                  Idaho Code §§ 55-1001,
      321 S Cotterell Dr
                                                                   $385,000.00                                   $91,115.12
                                                                                                                                  55-1002, 55-1003
      Boise ID, 83709-0312                                                                    100% of fair market value, up to
      County : Ada                                                                             any applicable statutory limit
      Line from Schedule A/B: 1.1

      2008 Ford Fusion                                                                                                            Idaho Code § 11-605(3)
      Line from Schedule A/B: 3.3
                                                                      $3,500.00                                    $3,500.00
                                                                                              100% of fair market value, up to
                                                                                               any applicable statutory limit

      2001 Dodge Ram 3500                                                                                                         Idaho Code § 11-605(3)
      Line from Schedule A/B: 3.4
                                                                      $5,500.00                                    $5,500.00
                                                                                              100% of fair market value, up to
                                                                                               any applicable statutory limit

      2000 Take 3 52' car trailer                                                                                                 Idaho Code § 11-605(10)
      Line from Schedule A/B: 4.1
                                                                      $3,700.00                                    $1,600.00
                                                                                              100% of fair market value, up to
                                                                                               any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 5
Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-00717-JMM                        Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                  Desc Main
 Debtor 1
                                                                Document      Page 17 of 67
 Debtor 2    True, Matthew Carter & True, Sara Michele                                                Case number (if known)

     Brief description of the property and line on          Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     pots, pans, kitchen utensils, (2)                                                                                         Idaho Code § 11-605(1)(a),
     toasters, blender, coffee pot, crock
                                                                      $640.00                                  $640.00
                                                                                                                               (b), and (c)
     pot, cups, glasses, dishes, stainless                                             100% of fair market value, up to
     flatware, towels, linens, (2)                                                      any applicable statutory limit
     microwaves, refrigerator
     Line from Schedule A/B: 6.1

     kitchen table, (6) kitchen chairs, (2)                                                                                    Idaho Code § 11-605(1)(a),
     couches, love seat, (3) coffee tables,
                                                                      $750.00                                  $750.00
                                                                                                                               (b), and (c)
     (2) end tables                                                                    100% of fair market value, up to
     Line from Schedule A/B: 6.2                                                        any applicable statutory limit

     (2) desks, (2) beds, (2) dressers                                                                                         Idaho Code § 11-605(1)(a),
     Line from Schedule A/B: 6.3
                                                                      $750.00                                  $750.00
                                                                                                                               (b), and (c)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     (4) chest of drawers, night table,                                                                                        Idaho Code § 11-605(1)(a),
     hope chest, (5) lamps, (5) board
                                                                      $415.00                                  $415.00
                                                                                                                               (b), and (c)
     games, aquarium, animal carrier,                                                  100% of fair market value, up to
     children's toys, jewelry box                                                       any applicable statutory limit
     Line from Schedule A/B: 6.4

     Christmas decor, trash baskets,                                                                                           Idaho Code § 11-605(1)(a),
     curling iron, blow dryer, (2) vacuum
                                                                      $685.00                                  $685.00
                                                                                                                               (b), and (c)
     cleaners, (3) rugs, iron, ironing                                                 100% of fair market value, up to
     board, laundry hamper, laundry                                                     any applicable statutory limit
     baskets, hangers, humidifier
     Line from Schedule A/B: 6.5

     lawn mower, misc yard tools, table                                                                                        Idaho Code § 11-605(1)(a),
     saw, router
                                                                      $700.00                                  $700.00
                                                                                                                               (b), and (c)
     Line from Schedule A/B: 6.6                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

      wrenches & screwdrivers, power                                                                                           Idaho Code § 11-605(1)(a),
     hand tools
                                                                      $650.00                                  $650.00
                                                                                                                               (b), and (c)
     Line from Schedule A/B: 6.7                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     hand saws, hammers, socket                                                                                                Idaho Code § 11-605(1)(a),
     wrenches, air compressor, shop
                                                                      $370.00                                  $370.00
                                                                                                                               (b), and (c)
     vacuum, weights, (3) coolers                                                      100% of fair market value, up to
     Line from Schedule A/B: 6.8                                                        any applicable statutory limit

     torch, misc building products, (2)                                                                                        Idaho Code § 11-605(1)(a),
     tool chests, steel cutter, 15 gallon
                                                                      $750.00                                  $750.00
                                                                                                                               (b), and (c)
     weed sprayer, generator, leaf                                                     100% of fair market value, up to
     catcher, irrigation pump power tool                                                any applicable statutory limit
     pack
     Line from Schedule A/B: 6.9

     washer & dryer                                                                                                            Idaho Code § 11-605(1)(a),
     Line from Schedule A/B: 6.10
                                                                      $750.00                                  $750.00
                                                                                                                               (b), and (c)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                        page 2 of 5
Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-00717-JMM                        Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                  Desc Main
 Debtor 1
                                                                Document      Page 18 of 67
 Debtor 2    True, Matthew Carter & True, Sara Michele                                                Case number (if known)

     Brief description of the property and line on          Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Food saver vacuum sealer                                                                                                  Idaho Code § 11-605(1)(a),
     Line from Schedule A/B: 6.11
                                                                      $250.00                                  $250.00
                                                                                                                               (b), and (c)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     (3) tvs, (2) stereos, (3) computers,                                                                                      Idaho Code § 11-605(1)(a),
     (2) printers, (2) scanners
                                                                      $750.00                                  $750.00
                                                                                                                               (b), and (c)
     Line from Schedule A/B: 7.1                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     vcr, dvd player, (2) cameras, (2)                                                                                         Idaho Code § 11-605(1)(a),
     XBox game consoles, XBox games
                                                                      $470.00                                  $470.00
                                                                                                                               (b), and (c)
     & accessories                                                                     100% of fair market value, up to
     Line from Schedule A/B: 7.2                                                        any applicable statutory limit

     Verizon signal booster, (2) cell                                                                                          Idaho Code § 11-605(1)(a),
     phones
                                                                      $750.00                                  $750.00
                                                                                                                               (b), and (c)
     Line from Schedule A/B: 7.3                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     (2) Airpod ear buds, sub 3 amp                                                                                            Idaho Code § 11-605(1)(a),
     Line from Schedule A/B: 7.4
                                                                      $200.00                                  $200.00
                                                                                                                               (b), and (c)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     (2) Apple watches                                                                                                         Idaho Code § 11-605(1)(a),
     Line from Schedule A/B: 7.5
                                                                      $600.00                                  $600.00
                                                                                                                               (b), and (c)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     IPhone                                                                                                                    Idaho Code § 11-605(1)(a),
     Line from Schedule A/B: 7.6
                                                                      $300.00                                  $300.00
                                                                                                                               (b), and (c)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     photo albums, music cds, dvd                                                                                              Idaho Code § 11-605(1)(a),
     movies, books, pictures, knic-knacs,
                                                                      $565.00                                  $565.00
                                                                                                                               (b), and (c)
     piano                                                                             100% of fair market value, up to
     Line from Schedule A/B: 8.1                                                        any applicable statutory limit

     Peavey Raptor Plus Electric Guitar -                                                                                      Idaho Code § 11-605(1)(a),
     $35.00, Fender Squier - $50.00,
                                                                      $220.00                                  $220.00
                                                                                                                               (b), and (c)
     Epiphone Les Paul - $100.00, Univox                                               100% of fair market value, up to
     - $5.00, Peavy Bandit amp - $30.00                                                 any applicable statutory limit
     Line from Schedule A/B: 8.2

     (3) bicycles, tent, (3) sleeping bags,                                                                                    Idaho Code § 11-605(1)(a),
     misc camping gear
                                                                      $635.00                                  $635.00
                                                                                                                               (b), and (c)
     Line from Schedule A/B: 9.1                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     misc fishing gear, snow skis, boots,                                                                                      Idaho Code § 11-605(1)(a),
     poles
                                                                      $350.00                                  $350.00
                                                                                                                               (b), and (c)
     Line from Schedule A/B: 9.2                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                        page 3 of 5
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            Case 19-00717-JMM                        Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                  Desc Main
 Debtor 1
                                                                Document      Page 19 of 67
 Debtor 2    True, Matthew Carter & True, Sara Michele                                                Case number (if known)

     Brief description of the property and line on          Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     drumset, dirtbike gear                                                                                                    Idaho Code § 11-605(1)(a),
     Line from Schedule A/B: 9.3
                                                                      $225.00                                  $225.00
                                                                                                                               (b), and (c)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Ruger 10/22 rifle, ammunition                                                                                             Idaho Code § 11-605(8)
     Line from Schedule A/B: 10.1
                                                                       $75.00                                   $75.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     .22 pellet gun, pellets                                                                                                   Idaho Code § 11-605(8)
     Line from Schedule A/B: 10.3
                                                                       $40.00                                   $40.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     debtor clothing, dependent clothing                                                                                       Idaho Code § 11-605(1)(a),
     Line from Schedule A/B: 11.1
                                                                      $600.00                                  $600.00
                                                                                                                               (b), and (c)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     joint debtor clothing                                                                                                     Idaho Code § 11-605(1)(a),
     Line from Schedule A/B: 11.2
                                                                      $500.00                                  $500.00
                                                                                                                               (b), and (c)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     men's wedding ring, men's watch,                                                                                          Idaho Code § 11-605(2)
     women's wedding ring
                                                                      $715.00                                  $715.00
     Line from Schedule A/B: 12.1                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

      women's watch, women's misc                                                                                              Idaho Code § 11-605(2)
     jewelry
                                                                      $170.00                                  $170.00
     Line from Schedule A/B: 12.2                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     cat                                                                                                                       Idaho Code § 11-605(1)(a),
     Line from Schedule A/B: 13.1
                                                                         $5.00                                    $5.00
                                                                                                                               (b), and (c)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     dog                                                                                                                       Idaho Code § 11-605(1)(a),
     Line from Schedule A/B: 13.2
                                                                         $5.00                                    $5.00
                                                                                                                               (b), and (c)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     (9) fish                                                                                                                  Idaho Code § 11-605(1)(a),
     Line from Schedule A/B: 13.3
                                                                      $200.00                                  $200.00
                                                                                                                               (b), and (c)
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     ICCU - Acct #3985                                                                                                         Idaho Code § 11-207
     Line from Schedule A/B: 17.1
                                                                       $11.24                                     $8.73
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     ICCU - Acct #5262                                                                                                         Idaho Code § 11-207
     Line from Schedule A/B: 17.2
                                                                      $113.86                                   $84.75
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                        page 4 of 5
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            Case 19-00717-JMM                        Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                  Desc Main
 Debtor 1
                                                                Document      Page 20 of 67
 Debtor 2    True, Matthew Carter & True, Sara Michele                                                Case number (if known)

     Brief description of the property and line on          Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Key Bank - Acct #3001 - Business                                                                                          Idaho Code § 11-207
     checking
                                                                         $9.92                                    $7.44
     Line from Schedule A/B: 17.3                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     US Bank - #3396                                                                                                           Idaho Code § 11-207
     Line from Schedule A/B: 17.4
                                                                         $9.13                                    $6.85
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     ICCU - #4989                                                                                                              Idaho Code § 11-207
     Line from Schedule A/B: 17.5
                                                                       $20.00                                   $15.00
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     ICCU- #3941                                                                                                               Idaho Code § 11-207
     Line from Schedule A/B: 17.6
                                                                         $0.84                                    $0.63
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     ICCU - #4997                                                                                                              Idaho Code § 11-207
     Line from Schedule A/B: 17.7
                                                                      $203.14                                  $152.35
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                        page 5 of 5
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               Case 19-00717-JMM                      Doc 1         Filed 06/26/19 Entered 06/26/19 11:18:55                                      Desc Main
                                                                   Document      Page 21 of 67
              Fill in this information to identify your case:

 Debtor 1                   Matthew Carter True
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Sara Michele True
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             DISTRICT OF IDAHO, BOISE DIVISION

 Case number
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ¶s name.                 Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Key Bank                                 Describe the property that secures the claim:                 $76,858.40             $385,000.00                      $0.00
         Creditor's Name
                                                  321 S Cotterell Dr, Boise, ID
                                                  83709-0312
                                                  Debtros' Primary Residence
                                                  As of the date you file, the claim is: Check all that
         3144 E State St                          apply.
         Eagle, ID 83616-6232                      Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          6/20/17                   Last 4 digits of account number


 2.2     Key Bank                                 Describe the property that secures the claim:                  $6,618.96                 $6,000.00              $618.96
         Creditor's Name
                                                  2018 Big Tex 22 GN Trailer

                                                  As of the date you file, the claim is: Check all that
         3144 E State St                          apply.
         Eagle, ID 83616-6232                      Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          3/20/18                   Last 4 digits of account number        5497


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
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            Case 19-00717-JMM                           Doc 1        Filed 06/26/19 Entered 06/26/19 11:18:55                                             Desc Main
                                                                    Document      Page 22 of 67
 Debtor 1 Matthew Carter True                                                                              Case number (if known)
              First Name                  Middle Name                     Last Name
 Debtor 2 Sara Michele True
              First Name                  Middle Name                     Last Name



 2.3
        Pioneer Federal Credit
        Union                                      Describe the property that secures the claim:                     $5,652.91                  $5,652.91         $152.91
        Creditor's Name
                                                   2017 KTM 300 XCW Dirt bike

        250 W 3rd S                                As of the date you file, the claim is: Check all that
        Mountain Home, ID                          apply.
        83647-2640                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         6/1/17                      Last 4 digits of account number        0070

 2.4    Wells Fargo                                Describe the property that secures the claim:                  $217,026.48                $385,000.00              $0.00
        Creditor's Name
                                                   321 S Cotterell Dr, Boise, ID
                                                   83709-0312
                                                   Debtros' Primary Residence
                                                   As of the date you file, the claim is: Check all that
        108 E Plaza St                             apply.
        Eagle, ID 83616-5976                        Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         11/12/15                    Last 4 digits of account number        7614


 Add the dollar value of your entries in Column A on this page. Write that number here:                                  $306,156.75
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                                 $306,156.75

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.


         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.4
         WFHM
         PO Box 10335                                                                               Last 4 digits of account number   7614
         Des Moines, IA 50306-0335




Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                                page 2 of 2
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              Case 19-00717-JMM                        Doc 1         Filed 06/26/19 Entered 06/26/19 11:18:55                                            Desc Main
                                                                    Document      Page 23 of 67
      Fill in this information to identify your case:

 Debtor 1                  Matthew Carter True
                           First Name                       Middle Name                          Last Name

 Debtor 2                  Sara Michele True
 (Spouse if, filing)       First Name                       Middle Name                          Last Name


 United States Bankruptcy Court for the:              DISTRICT OF IDAHO, BOISE DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

        No. Go to Part 2.
        Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1          ADSComenityVictoria                                    Last 4 digits of account number         5856                                                           $74.00
              Nonpriority Creditor's Name
                                                                     When was the debt incurred?
              PO Box 182789
              Columbus, OH 43218-2789
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                         Contingent
               Debtor 2 only                                         Unliquidated
               Debtor 1 and Debtor 2 only                            Disputed
               At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                Student loans
              debt                                                    Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims
               No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify     credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 15
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           Case 19-00717-JMM                         Doc 1      Filed 06/26/19 Entered 06/26/19 11:18:55                                          Desc Main
                                                               Document      Page 24 of 67
 Debtor 1
 Debtor 2 True, Matthew Carter & True, Sara Michele                                                 Case number (if known)

 4.2      Ambry Genetics                                        Last 4 digits of account number       3046                                                $149.50
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          15 Argonaut
          Aliso Viejo, CA 92656-1423
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     medical


 4.3      Best Buy Credit Service                               Last 4 digits of account number       0952                                               $4,666.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 790441
          Saint Louis, MO 63179-0441
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card


 4.4      CBNA                                                  Last 4 digits of account number       3366                                                $892.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 6497
          Sioux Falls, SD 57117-6497
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 15
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           Case 19-00717-JMM                         Doc 1      Filed 06/26/19 Entered 06/26/19 11:18:55                                          Desc Main
                                                               Document      Page 25 of 67
 Debtor 1
 Debtor 2 True, Matthew Carter & True, Sara Michele                                                 Case number (if known)

 4.5      CBNA                                                  Last 4 digits of account number       1788                                               $1,531.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 6497
          Sioux Falls, SD 57117-6497
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card


 4.6      CBNA                                                  Last 4 digits of account number       0952                                               $3,804.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 6497
          Sioux Falls, SD 57117-6497
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card


 4.7      Chase Card                                            Last 4 digits of account number       3441                                               $2,627.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          201 N Walnut St
          Wilmington, DE 19801-2920
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 15
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           Case 19-00717-JMM                         Doc 1      Filed 06/26/19 Entered 06/26/19 11:18:55                                          Desc Main
                                                               Document      Page 26 of 67
 Debtor 1
 Debtor 2 True, Matthew Carter & True, Sara Michele                                                 Case number (if known)

 4.8      Chase Card                                            Last 4 digits of account number       8229                                               $5,851.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          201 N Walnut St
          Wilmington, DE 19801-2920
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card


 4.9      Dana True                                             Last 4 digits of account number                                                         $64,200.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          2758 N Lakeharbor Ln
          Boise, ID 83703-6240
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     business loan


 4.10     EDFIN/ESA                                             Last 4 digits of account number       0574                                               $9,574.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          120 N Seven Oaks Dr
          Knoxville, TN 37922-2359
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 4 of 15
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-00717-JMM                         Doc 1      Filed 06/26/19 Entered 06/26/19 11:18:55                                          Desc Main
                                                               Document      Page 27 of 67
 Debtor 1
 Debtor 2 True, Matthew Carter & True, Sara Michele                                                 Case number (if known)

 4.11     FM/NELNET 2                                           Last 4 digits of account number       0015                                               $6,037.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          121 S 13th St
          Lincoln, NE 68508-1904
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
                                                                Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify

 4.12     Home Depot Credit Services                            Last 4 digits of account number       3366                                                $932.16
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 790328
          Saint Louis, MO 63179-0328
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card


 4.13     Home Depot Credit Services                            Last 4 digits of account number       1788                                               $3,054.18
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 790328
          Saint Louis, MO 63179-0328
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 5 of 15
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-00717-JMM                         Doc 1      Filed 06/26/19 Entered 06/26/19 11:18:55                                          Desc Main
                                                               Document      Page 28 of 67
 Debtor 1
 Debtor 2 True, Matthew Carter & True, Sara Michele                                                 Case number (if known)

 4.14     Key Bank                                              Last 4 digits of account number       1001                                              $49,932.39
          Nonpriority Creditor's Name
          Attn: Loan Client Servces                             When was the debt incurred?
          PO Box 5788
          Cleveland, OH 44101-0788
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     line of credit


 4.15     Key Bank                                              Last 4 digits of account number       3001                                               $4,853.06
          Nonpriority Creditor's Name
          Attn: Loan Client Servces                             When was the debt incurred?
          PO Box 5788
          Cleveland, OH 44101-0788
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify

 4.16     KeyBank                                               Last 4 digits of account number       9005                                              $49,000.00
          Nonpriority Creditor's Name
          Attn: Loan Client Serv                                When was the debt incurred?
          PO Box 5788
          Cleveland, OH 44101-0788
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     line of credit




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 6 of 15
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-00717-JMM                         Doc 1      Filed 06/26/19 Entered 06/26/19 11:18:55                                          Desc Main
                                                               Document      Page 29 of 67
 Debtor 1
 Debtor 2 True, Matthew Carter & True, Sara Michele                                                 Case number (if known)

 4.17     Les Bois Neurology                                    Last 4 digits of account number       4260                                                $148.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          3875 E Overland Rd
          Meridian, ID 83642-9005
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     medical


 4.18     Macys                                                 Last 4 digits of account number       4872                                               $2,539.00
          Nonpriority Creditor's Name
          Bankruptcy Processing                                 When was the debt incurred?
          PO Box 8218
          Mason, OH 45040-8218
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card


 4.19     Matt Brown                                            Last 4 digits of account number                                                         $76,828.04
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 10129
          Aspen, CO 81612-7315
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     business loan




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 7 of 15
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-00717-JMM                         Doc 1      Filed 06/26/19 Entered 06/26/19 11:18:55                                          Desc Main
                                                               Document      Page 30 of 67
 Debtor 1
 Debtor 2 True, Matthew Carter & True, Sara Michele                                                 Case number (if known)

 4.20     Shane Hurley                                          Last 4 digits of account number                                                         $16,886.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          7157 E Rancho Vista Dr Unit 5003
          Scottsdale, AZ 85251-1647
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     personal loan


 4.21     St Alphonsus                                          Last 4 digits of account number       3562                                                    $83.00
          Nonpriority Creditor's Name
          Attn: Patient Accounts                                When was the debt incurred?
          1055 N Curtis Rd
          Boise, ID 83706-1309
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     medical


 4.22     St Luke's                                             Last 4 digits of account number       8785                                                $172.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 2578
          Boise, ID 83701-2578
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     medical




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 8 of 15
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-00717-JMM                         Doc 1      Filed 06/26/19 Entered 06/26/19 11:18:55                                          Desc Main
                                                               Document      Page 31 of 67
 Debtor 1
 Debtor 2 True, Matthew Carter & True, Sara Michele                                                 Case number (if known)

 4.23     St Luke's Rehab                                       Last 4 digits of account number                                                           $247.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          600 N Robbins Rd
          Boise, ID 83702-4565
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     medical


 4.24     SYNCB Lowes                                           Last 4 digits of account number       0182                                               $1,590.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 965005
          Orlando, FL 32896-5005
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card


 4.25     SYNCB TJX                                             Last 4 digits of account number       6045                                               $2,518.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 965015
          Orlando, FL 32896-5015
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 9 of 15
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-00717-JMM                         Doc 1      Filed 06/26/19 Entered 06/26/19 11:18:55                                          Desc Main
                                                               Document      Page 32 of 67
 Debtor 1
 Debtor 2 True, Matthew Carter & True, Sara Michele                                                 Case number (if known)

 4.26     Synchrony Bank                                        Last 4 digits of account number       6019                                                $412.72
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                 When was the debt incurred?
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     Lenscrafters credit card


 4.27     TD Bank USA                                           Last 4 digits of account number       5859                                               $2,287.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 673
          Minneapolis, MN 55440-0673
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card


 4.28     US Bank                                               Last 4 digits of account number       0770                                               $8,238.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 6335
          Fargo, ND 58125-6335
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     line of credit




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 10 of 15
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-00717-JMM                         Doc 1      Filed 06/26/19 Entered 06/26/19 11:18:55                                          Desc Main
                                                               Document      Page 33 of 67
 Debtor 1
 Debtor 2 True, Matthew Carter & True, Sara Michele                                                 Case number (if known)

 4.29     US Bank                                               Last 4 digits of account number       8937                                               $6,501.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 108
          Saint Louis, MO 63166-0108
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card


 4.30     US Bank                                               Last 4 digits of account number       6642                                               $5,061.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 108
          Saint Louis, MO 63166-0108
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card


 4.31     US Bank                                               Last 4 digits of account number       8803                                               $1,801.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 108
          Saint Louis, MO 63166-0108
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 11 of 15
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-00717-JMM                         Doc 1      Filed 06/26/19 Entered 06/26/19 11:18:55                                          Desc Main
                                                               Document      Page 34 of 67
 Debtor 1
 Debtor 2 True, Matthew Carter & True, Sara Michele                                                 Case number (if known)

 4.32     US Bank                                               Last 4 digits of account number       6355                                              $24,389.00
          Nonpriority Creditor's Name
          Bankruptcy/Recovery Dept                              When was the debt incurred?
          PO Box 5229
          Cincinnati, OH 45201-5229
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     business reserve line


 4.33     Wells Fargo                                           Last 4 digits of account number       6190                                               $4,383.64
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 14517
          Des Moines, IA 50306-3517
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     business credit card


 4.34     WF Business Direct                                    Last 4 digits of account number       8706                                               $2,800.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 348750
          Sacramento, CA 95834-8750
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 12 of 15
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-00717-JMM                         Doc 1      Filed 06/26/19 Entered 06/26/19 11:18:55                                          Desc Main
                                                               Document      Page 35 of 67
 Debtor 1
 Debtor 2 True, Matthew Carter & True, Sara Michele                                                 Case number (if known)

 4.35     WF Business SBL                                       Last 4 digits of account number       9350                                               $8,916.07
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 29482
          Phoenix, AZ 85038-9482
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     business credit card


 4.36     WF Card Service                                       Last 4 digits of account number       4474                                                $992.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 14517
          Des Moines, IA 50306-3517
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     credit card


 4.37     Zions                                                 Last 4 digits of account number       0001                                              $24,430.33
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 30709
          Salt Lake City, UT 84130-0709
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community            Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
           No                                                   Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                  Other. Specify     line of credit




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 13 of 15
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           Case 19-00717-JMM                         Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                          Desc Main
                                                                Document      Page 36 of 67
 Debtor 1
 Debtor 2 True, Matthew Carter & True, Sara Michele                                                  Case number (if known)

 4.38      Zions                                                 Last 4 digits of account number       6373                                                $8,417.51
           Nonpriority Creditor's Name
                                                                 When was the debt incurred?
           PO Box 30709
           Salt Lake City, UT 84130-0709
           Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                        Contingent
            Debtor 2 only                                        Unliquidated
            Debtor 1 and Debtor 2 only                           Disputed
            At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

            Check if this claim is for a    community            Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                       report as priority claims
            No                                                   Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify     business credit card


 4.39      Zions                                                 Last 4 digits of account number       2201                                               $45,409.23
           Nonpriority Creditor's Name
                                                                 When was the debt incurred?
           PO Box 30709
           Salt Lake City, UT 84130-0709
           Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                        Contingent
            Debtor 2 only                                        Unliquidated
            Debtor 1 and Debtor 2 only                           Disputed
            At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

            Check if this claim is for a    community            Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                       report as priority claims
            No                                                   Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify     business credit card


 4.40      Zions                                                 Last 4 digits of account number       2281                                               $50,181.27
           Nonpriority Creditor's Name
                                                                 When was the debt incurred?
           PO Box 30709
           Salt Lake City, UT 84130-0709
           Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                        Contingent
            Debtor 2 only                                        Unliquidated
            Debtor 1 and Debtor 2 only                           Disputed
            At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

            Check if this claim is for a    community            Student loans
           debt                                                   Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                       report as priority claims
            No                                                   Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify     business line of credit

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 14 of 15
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           Case 19-00717-JMM                          Doc 1        Filed 06/26/19 Entered 06/26/19 11:18:55                                         Desc Main
                                                                  Document      Page 37 of 67
 Debtor 1
 Debtor 2 True, Matthew Carter & True, Sara Michele                                                       Case number (if known)

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 KeyBankNA                                                   Line 4.16 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 4910 Tiedeman Rd                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44144-2338
                                                             Last 4 digits of account number                      9005

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                         0.00
 Total claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                         0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                         0.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.       $                  15,611.00
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                486,797.10

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                502,408.10




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 15 of 15
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              Case 19-00717-JMM                         Doc 1         Filed 06/26/19 Entered 06/26/19 11:18:55                               Desc Main
                                                                     Document      Page 38 of 67
              Fill in this information to identify your case:

 Debtor 1                 Matthew Carter True
                          First Name                         Middle Name              Last Name

 Debtor 2                 Sara Michele True
 (Spouse if, filing)      First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF IDAHO, BOISE DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules.    You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


         Person or company with whom you have the contract or lease                     State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.2
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.3
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.4
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.5
           Name


           Number       Street

           City                                    State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                      Page 1 of 1
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              Case 19-00717-JMM                           Doc 1         Filed 06/26/19 Entered 06/26/19 11:18:55                    Desc Main
                                                                       Document      Page 39 of 67
              Fill in this information to identify your case:

 Debtor 1                   Matthew Carter True
                            First Name                           Middle Name        Last Name

 Debtor 2                   Sara Michele True
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF IDAHO, BOISE DIVISION

 Case number
 (if known)
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                          12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         FlyTrue Transport LLC                                                                  Schedule D, line
                321 S Cotterell Dr                                                                     Schedule E/F, line      4.9
                Boise, ID 83709-0312
                                                                                                       Schedule G
                                                                                                      Dana True



    3.2         FlyTrue Transport LLC                                                                  Schedule D, line      2.2
                321 S Cotterell Dr                                                                     Schedule E/F, line
                Boise, ID 83709-0312
                                                                                                       Schedule G
                                                                                                      Key Bank



    3.3         FlyTrue Transport LLC                                                                  Schedule D, line
                321 S Cotterell Dr                                                                     Schedule E/F, line      4.14
                Boise, ID 83709-0312
                                                                                                       Schedule G
                                                                                                      Key Bank




Official Form 106H                                                              Schedule H: Your Codebtors                                       Page 1 of 3
Software Copyright (c) 2019 CINGroup - www.cincompass.com
           Case 19-00717-JMM                         Doc 1    Filed 06/26/19 Entered 06/26/19 11:18:55               Desc Main
                                                             Document      Page 40 of 67
 Debtor 1 True, Matthew Carter & True, Sara Michele                                  Case number (if known)



            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                      Column 2: The creditor to whom you owe the debt
                                                                                          Check all schedules that apply:
    3.4      FlyTrue Transport LLC                                                         Schedule D, line
             321 S Cotterell Dr                                                            Schedule E/F, line     4.15
             Boise, ID 83709-0312
                                                                                           Schedule G
                                                                                          Key Bank



    3.5      FlyTrue Transport LLC                                                         Schedule D, line
             321 S Cotterell Dr                                                            Schedule E/F, line     4.19
             Boise, ID 83709-0312
                                                                                           Schedule G
                                                                                          Matt Brown



    3.6      FlyTrue Transport LLC                                                         Schedule D, line
             321 S Cotterell Dr                                                            Schedule E/F, line     4.32
             Boise, ID 83709-0312
                                                                                           Schedule G
                                                                                          US Bank



    3.7      FlyTrue Transport LLC                                                         Schedule D, line
             321 S Cotterell Dr                                                            Schedule E/F, line     4.33
             Boise, ID 83709-0312
                                                                                           Schedule G
                                                                                          Wells Fargo



    3.8      FlyTrue Transport LLC                                                         Schedule D, line
             321 S Cotterell Dr                                                            Schedule E/F, line     4.34
             Boise, ID 83709-0312
                                                                                           Schedule G
                                                                                          WF Business Direct



    3.9      FlyTrue Transport LLC                                                         Schedule D, line
             321 S Cotterell Dr                                                            Schedule E/F, line     4.37
             Boise, ID 83709-0312
                                                                                           Schedule G
                                                                                          Zions



    3.10     FlyTrue Transport LLC                                                         Schedule D, line
             321 S Cotterell Dr                                                            Schedule E/F, line     4.39
             Boise, ID 83709-0312
                                                                                           Schedule G
                                                                                          Zions



    3.11     FlyTrue Trucking LLC                                                          Schedule D, line
             321 S Cotterell Dr                                                            Schedule E/F, line     4.35
             Boise, ID 83709-0312
                                                                                           Schedule G
                                                                                          WF Business SBL




Official Form 106H                                                    Schedule H: Your Codebtors                                Page 2 of 3
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           Case 19-00717-JMM                         Doc 1    Filed 06/26/19 Entered 06/26/19 11:18:55               Desc Main
                                                             Document      Page 41 of 67
 Debtor 1 True, Matthew Carter & True, Sara Michele                                  Case number (if known)



            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                      Column 2: The creditor to whom you owe the debt
                                                                                          Check all schedules that apply:
    3.12     FlyTrue Trucking LLC                                                          Schedule D, line
             321 S Cotterell Dr                                                            Schedule E/F, line     4.38
             Boise, ID 83709-0312
                                                                                           Schedule G
                                                                                          Zions



    3.13     FlyTrue Trucking LLC                                                          Schedule D, line
             321 S Cotterell Dr                                                            Schedule E/F, line     4.40
             Boise, ID 83709-0312
                                                                                           Schedule G
                                                                                          Zions




Official Form 106H                                                    Schedule H: Your Codebtors                                Page 3 of 3
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             Case 19-00717-JMM                    Doc 1    Filed 06/26/19 Entered 06/26/19 11:18:55                                  Desc Main
                                                          Document      Page 42 of 67


Fill in this information to identify your case:

Debtor 1                      Matthew Carter True

Debtor 2                      Sara Michele True
(Spouse, if filing)


United States Bankruptcy Court for the:       DISTRICT OF IDAHO, BOISE DIVISION

Case number                                                                                                Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:

Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name         True Enterprises 7 Inc.                     NS Cleaning Co LLC

       Occupation may include student or Employer's address                                                      3313 W Cherry Ln Ste 613
       homemaker, if it applies.
                                                                                                                 Meridian, ID 83642-1119

                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1        For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $              0.00     $          1,209.00

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00     +$              0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $           0.00            $   1,209.00




Official Form 106I                                                        Schedule I: Your Income                                                    page 1
            Case 19-00717-JMM                Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                    Desc Main
                                                        Document      Page 43 of 67
Debtor 1
Debtor 2    True, Matthew Carter & True, Sara Michele                                               Case number (if known)



                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                non-filing spouse
      Copy line 4 here                                                                      4.          $              0.00     $         1,209.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $         110.82
      5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $           0.00
      5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $           0.00
      5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $           0.00
      5e.    Insurance                                                                       5e.        $              0.00     $           0.00
      5f.    Domestic support obligations                                                    5f.        $              0.00     $           0.00
      5g.    Union dues                                                                      5g.        $              0.00     $           0.00
      5h.    Other deductions. Specify:                                                      5h.+       $              0.00 +   $           0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $                  0.00     $         110.82
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $                  0.00     $       1,098.18
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00     $               0.00
      8b. Interest and dividends                                                             8b.        $              0.00     $               0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00     $               0.00
      8d. Unemployment compensation                                                          8d.        $              0.00     $               0.00
      8e.    Social Security                                                                 8e.        $              0.00     $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $                 0.00
      8g. Pension or retirement income                                                       8g. $                     0.00   $                 0.00
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $                  0.00     $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                         10. $               0.00 + $         1,098.18 = $            1,098.18
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.      +$              0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.         $           1,098.18
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:   Debtor has ended the FlyTrue Transportation comapny but as of June 1, 2019 he will be using True
                              Enterprises 7 Inc. as his primary business to do brokerage and transportation.




Official Form 106I                                                      Schedule I: Your Income                                                          page 2
        Case 19-00717-JMM                         Doc 1      Filed 06/26/19 Entered 06/26/19 11:18:55                                Desc Main
                                                            Document      Page 44 of 67


Fill in this information to identify your case:

Debtor 1              Matthew Carter True                                                                    Check if this is:
                                                                                                              An amended filing
Debtor 2              Sara Michele True                                                                       A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:    DISTRICT OF IDAHO, BOISE DIVISION                                        MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
                 Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                           Yes.    Fill out this information for
                                                    each dependent..............
                                                                                    Dependent¶s relationship to
                                                                                    Debtor 1 or Debtor 2
                                                                                                                       Dependent¶s
                                                                                                                       age
                                                                                                                                      Does dependent
                                                                                                                                      live with you?

      Do not state the                                                                                                                 No
      dependents names.                                                             Daughter                           3               Yes
                                                                                                                                       No
                                                                                                                                       Yes
                                                                                                                                       No
                                                                                                                                       Yes
                                                                                                                                       No
                                                                                                                                       Yes
3.    Do your expenses include
      expenses of people other than
                                                  No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                      Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                          1,664.93

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.   $                           0.00
      4b. Property, homeowner¶s, or renter¶s insurance                                                      4b.   $                           0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.   $                          55.00
      4d. Homeowner¶s association or condominium dues                                                       4d.   $                           0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.   $                         370.34




Official Form 106J                                                    Schedule J: Your Expenses                                                        page 1
       Case 19-00717-JMM                        Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                        Desc Main
                                                           Document      Page 45 of 67

Debtor 1
Debtor 2     True, Matthew Carter & True, Sara Michele                                                 Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              150.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                75.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              290.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              786.00
8.    Childcare and children¶s education costs                                                   8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                              169.00
10.   Personal care products and services                                                      10. $                                                76.00
11.   Medical and dental expenses                                                              11. $                                               165.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               410.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                               100.00
14.   Charitable contributions and religious donations                                         14. $                                               300.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                 0.00
      15b. Health insurance                                                                   15b. $                                               361.00
      15c. Vehicle insurance                                                                  15c. $                                               175.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                               175.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                 0.00
      17c. Other. Specify: Payments for 2018 Big Tex 22 GN Trailer                            17c. $                                               352.00
      17d. Other. Specify:                                                                    17d. $                                                 0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner¶s, or renter¶s insurance                                       20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner¶s association or condominium dues                                        20e. $                                                  0.00
21.   Other: Specify:                                                                          21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       5,674.27
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       5,674.27
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               1,098.18
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              5,674.27

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              -4,576.09

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
             Case 19-00717-JMM                  Doc 1      Filed 06/26/19 Entered 06/26/19 11:18:55                           Desc Main
                                                          Document      Page 46 of 67


      Fill in this information to identify your case:

Debtor 1                    Matthew Carter True
                            First Name              Middle Name            Last Name

Debtor 2                    Sara Michele True
(Spouse if, filing)         First Name              Middle Name            Last Name


United States Bankruptcy Court for the:         DISTRICT OF IDAHO, BOISE DIVISION

Case number
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer¶s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Matthew True                                                  X   /s/ Sara True
             Matthew Carter True                                               Sara Michele True
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       June 21, 2019                                          Date    June 21, 2019
              Case 19-00717-JMM                             Doc 1          Filed 06/26/19 Entered 06/26/19 11:18:55                                                   Desc Main
                                                                          Document      Page 47 of 67
              Fill in this information to identify your case:

 Debtor 1                   Matthew Carter True
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Sara Michele True
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF IDAHO, BOISE DIVISION

 Case number
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             385,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              45,023.63

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             430,023.63

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $             306,156.75

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $             502,408.10


                                                                                                                                     Your total liabilities $                   808,564.85


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                1,098.18

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                5,674.27

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

         Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those ³incurred by an individual primarily for a personal, family, or household
                purpose.´ 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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            Case 19-00717-JMM                        Doc 1     Filed 06/26/19 Entered 06/26/19 11:18:55                                 Desc Main
                                                              Document      Page 48 of 67
 Debtor 1
 Debtor 2     True, Matthew Carter & True, Sara Michele                                      Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $          -580.08


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                          Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                    $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $                 0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                  $            15,611.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                            $             15,611.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
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              Case 19-00717-JMM                      Doc 1         Filed 06/26/19 Entered 06/26/19 11:18:55                                  Desc Main
                                                                  Document      Page 49 of 67


            Fill in this information to identify your case:

 Debtor 1                 Matthew Carter True
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Sara Michele True
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:            DISTRICT OF IDAHO, BOISE DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1 lived      Debtor 2 Prior Address:                                Dates Debtor 2
                                                                there                                                                            lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                 Debtor 1                                                        Debtor 2
                                                 Sources of income                 Gross income                  Sources of income               Gross income
                                                 Check all that apply.             (before deductions and        Check all that apply.           (before deductions
                                                                                   exclusions)                                                   and exclusions)

 From January 1 of current year until             Wages, commissions,                          $7,847.00         Wages, commissions,                    $6,122.00
 the date you filed for bankruptcy:              bonuses, tips                                                   bonuses, tips
                                                  Operating a business                                           Operating a business




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

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            Case 19-00717-JMM                        Doc 1         Filed 06/26/19 Entered 06/26/19 11:18:55                                  Desc Main
                                                                  Document      Page 50 of 67
 Debtor 1
 Debtor 2     True, Matthew Carter & True, Sara Michele                                                   Case number (if known)


                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income                  Sources of income             Gross income
                                                  Check all that apply.            (before deductions and        Check all that apply.         (before deductions
                                                                                   exclusions)                                                 and exclusions)

 For last calendar year:                           Wages, commissions,                       $18,693.00          Wages, commissions,                 $7,900.75
 (January 1 to December 31, 2018 )                bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                          Operating a business

 For the calendar year before that:                Wages, commissions,                      $-11,357.00          Wages, commissions,                $30,000.00
 (January 1 to December 31, 2017 )                bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                          Operating a business

5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income from             Sources of income             Gross income
                                                  Describe below.                  each source                   Describe below.               (before deductions
                                                                                   (before deductions and                                      and exclusions)
                                                                                   exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1¶s or Debtor 2¶s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as ³incurred by an
                 individual primarily for a personal, family, or household purpose.´

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                        No.      Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.      Go to line 7.
                        Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe
       Ampd Service and Repair                               6/20/19                          $1,812.30                 $0.00       Mortgage
       415 E Carlton Ave                                                                                                            Car
       Meridian, ID 83642-2326                                                                                                      Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other   Repairs for dirt
                                                                                                                                   bike



Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2

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            Case 19-00717-JMM                        Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                    Desc Main
                                                                Document      Page 51 of 67
 Debtor 1
 Debtor 2     True, Matthew Carter & True, Sara Michele                                                   Case number (if known)


       Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe
       Wells Fargo                                           4/4 - $1664.93, 5/4              $4,994.79                 $0.00       Mortgage
       108 E Plaza St                                        - $1664.93, 6/4 -                                                      Car
       Eagle, ID 83616-5976                                  $1664.93                                                               Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

       Atlas Specialized Transport Inc                       4/24/19                          $2,000.00                 $0.00       Mortgage
                                                                                                                                    Car
                                                                                                                                    Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

       Bechtel Factoring LLC                                 5/8/19                             $675.00                 $0.00       Mortgage
                                                                                                                                    Car
                                                                                                                                    Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

       Commodity Transporters Inc                            5/8/19                             $772.79                 $0.00       Mortgage
                                                                                                                                    Car
                                                                                                                                    Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

       FV Transport                                          5/8/19                             $712.50                 $0.00       Mortgage
                                                                                                                                    Car
                                                                                                                                    Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

       H & H Trucklines Inc                                  5/8/19                             $712.50                 $0.00       Mortgage
                                                                                                                                    Car
                                                                                                                                    Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

       Lanman Inc                                            5/8/19                             $771.10                 $0.00       Mortgage
                                                                                                                                    Car
                                                                                                                                    Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3

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            Case 19-00717-JMM                        Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                    Desc Main
                                                                Document      Page 52 of 67
 Debtor 1
 Debtor 2     True, Matthew Carter & True, Sara Michele                                                   Case number (if known)


       Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe
       Lawson Drayage Inc                                    5/8/19                             $712.50                 $0.00       Mortgage
                                                                                                                                    Car
                                                                                                                                    Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

       MCH Financial Services                                5/8/19                           $2,137.50                 $0.00       Mortgage
                                                                                                                                    Car
                                                                                                                                    Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

       Mike Kolb Trucking                                    5/8/19                           $1,425.00                 $0.00       Mortgage
                                                                                                                                    Car
                                                                                                                                    Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

       Mushiana Transport Inc                                5/8/19                             $712.50                 $0.00       Mortgage
                                                                                                                                    Car
                                                                                                                                    Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

       Open Road Trucking Inc                                5/8/19                             $851.13                 $0.00       Mortgage
                                                                                                                                    Car
                                                                                                                                    Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

       RTS Financial Services                                5/8/19                             $813.45                 $0.00       Mortgage
                                                                                                                                    Car
                                                                                                                                    Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

       Key Bank                                              4/17 - $370.34,                  $1,111.02                 $0.00       Mortgage
       3144 E State St                                       5/17 - $370.34,                                                        Car
       Eagle, ID 83616-6232                                  6/17 - $370.34                                                         Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other   2nd Mortgage




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4

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            Case 19-00717-JMM                        Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                    Desc Main
                                                                Document      Page 53 of 67
 Debtor 1
 Debtor 2     True, Matthew Carter & True, Sara Michele                                                   Case number (if known)


       Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe
       Key Bank                                              4/5 - $306.20, 5/5 -               $918.60                 $0.00       Mortgage
       3144 E State St                                       $306.20, 6/5 -                                                         Car
       Eagle, ID 83616-6232                                  $306.20                                                                Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other   Big Tex Trailer

       US Bank #6335                                         6/2 - $657.67, 5/2 -             $1,973.01                 $0.00       Mortgage
                                                             $657.67, 4/2 -                                                         Car
                                                             $657.67                                                                Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other   loan

       Blue Cross                                            6/7 - $224.33, 5/7 -               $672.99                 $0.00       Mortgage
                                                             $224.33, 4/7 -                                                         Car
                                                             $224.33                                                                Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other   Health Ins

       Key Bank - Acct #9005                                 6/5 - $306.20, 3/3 -             $1,634.38                 $0.00       Mortgage
                                                             $363.76, 5/6 -                                                         Car
                                                             $306.20, 5/1 -                                                         Credit Card
                                                             $352.02, 4/5 -
                                                             $306.20
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5

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            Case 19-00717-JMM                         Doc 1        Filed 06/26/19 Entered 06/26/19 11:18:55                                   Desc Main
                                                                  Document      Page 54 of 67
 Debtor 1
 Debtor 2     True, Matthew Carter & True, Sara Michele                                                    Case number (if known)


      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                              Nature of the case          Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                               Describe the Property                                         Date                        Value of the
                                                                                                                                                            property
                                                               Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                               Describe the action the creditor took                         Date action was                 Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave                    Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
     No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                         Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       The Journey church                                             Tithing                                                throughout                   $3,600.00
                                                                                                                             the year


 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                     Date of your         Value of property
       how the loss occurred                                                                                                 loss                              lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 ofSchedule A/B: Property.



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 6

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            Case 19-00717-JMM                        Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                 Desc Main
                                                                Document      Page 55 of 67
 Debtor 1
 Debtor 2     True, Matthew Carter & True, Sara Michele                                                   Case number (if known)


 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                         Description and value of any property                    Date payment or             Amount of
       Address                                                     transferred                                              transfer was                 payment
       Email or website address                                                                                             made
       Person Who Made the Payment, if Not You
       J. Bart Green, PLLC                                         Attorney's Fees                                          5/9/2019                   $1,600.00
       870 N Linder Rd Ste B
       Meridian, ID 83642-4392


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                         Description and value of any property                    Date payment or             Amount of
       Address                                                     transferred                                              transfer was                 payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
     No
           Yes. Fill in the details.
       Person Who Received Transfer                                Description and value of                   Describe any property or        Date transfer was
       Address                                                     property transferred                       payments received or debts      made
                                                                                                              paid in exchange
       Person's relationship to you
       Tom Wendland                                                2017 Cotc 6x12 trailer                     $2100.00                        5/28/19


       acquaintance

       Brandon Lapp                                                2008 Honda Civic                           $5200.00                        4/3/19


       acquaintance

       Kooper Tharp                                                2000 KX 100 Kawasaki dirt                  400.00                          5/17/19
                                                                   bike

       craigslist

       Sam's Locker Pawn                                           Springfield model .40 pistol               $850.00                         6/15/19
       10250 W Fairview Ave                                        and a semi-automatic 40
       Boise, ID 83704-8011                                        Smith & Wesson - $200.00
                                                                   Panther Arms model LR-308
       None                                                        & 308 Winchester - $400.00
                                                                   Ruger AR-556 - $250.00




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7

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            Case 19-00717-JMM                         Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                Desc Main
                                                                 Document      Page 56 of 67
 Debtor 1
 Debtor 2      True, Matthew Carter & True, Sara Michele                                                   Case number (if known)


       Person Who Received Transfer                                 Description and value of                   Describe any property or     Date transfer was
       Address                                                      property transferred                       payments received or debts   made
                                                                                                               paid in exchange
       Person's relationship to you
       Meridian Public Auction                                      2015 Polaris 800 Pro                       $4,055.00                    6/3/2019
                                                                    snowmobile

       None

       Kooper Tharpe                                                2000 KX Dirt bike                          $980.00                      5/17/19


       None - Craigslist

       Pete Vanourer                                                1999 enclosed trailer                      $2,000.00                    6/11/19
       101 W Fir St
       Othello, WA 99344-1060

       None

       Kylee Butler                                                 baby changing table                        $50.00                       6/6/19


       None

       Sandy Dallavis                                               Washer and dryer                           $200.00                      6/9/19


       None


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                Description and value of the property transferred                       Date Transfer was
                                                                                                                                            made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
     No
           Yes. Fill in the details.
       Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was     Last balance before
       Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,         closing or transfer
       Code)                                                                                                           moved, or
                                                                                                                       transferred
       US Bank                                                XXXX-4482                    Checking                   moved to ICCU                     $7.36
                                                                                           Savings
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       US Bank                                                XXXX-2110                    Checking                   moved to ICCU                     $0.03
                                                                                           Savings
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 8

Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-00717-JMM                         Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                Desc Main
                                                                 Document      Page 57 of 67
 Debtor 1
 Debtor 2      True, Matthew Carter & True, Sara Michele                                                   Case number (if known)


       Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was     Last balance before
       Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,         closing or transfer
       Code)                                                                                                           moved, or
                                                                                                                       transferred
       Key Bank                                               XXXX-4508                    Checking                   5/15/19                         $112.00
                                                                                           Savings
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       Wells Fargo                                            XXXX-3440                    Checking                   2015                              $0.00
                                                                                           Savings
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       Zions Bank                                             XXXX-0054                    Checking                   2017                              $0.00
                                                                                           Savings
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       Zions Bank                                             XXXX-2281                    Checking                   4/2018                            $0.00
                                                                                           Savings
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       Zions Bank                                             XXXX-6373                    Checking                   4/2018                            $0.00
                                                                                           Savings
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       Zions Bank                                             XXXX-9402                    Checking                   4/2018                            $0.00
                                                                                           Savings
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       Zions Bank                                             XXXX-3033                    Checking                   4/2018                            $0.00
                                                                                           Savings
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       Wells Fargo                                            XXXX-5222                    Checking                   4/2019                            $0.00
                                                                                           Savings
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 9

Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-00717-JMM                         Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                Desc Main
                                                                 Document      Page 58 of 67
 Debtor 1
 Debtor 2      True, Matthew Carter & True, Sara Michele                                                   Case number (if known)


       Name of Financial Institution and                      Last 4 digits of             Type of account or          Date account was     Last balance before
       Address (Number, Street, City, State and ZIP           account number               instrument                  closed, sold,         closing or transfer
       Code)                                                                                                           moved, or
                                                                                                                       transferred
       Wells Fargo                                            XXXX-0009                     Checking                  6/21/19                           $5.00
                                                                                            Savings
                                                                                            Money Market
                                                                                            Brokerage
                                                                                            Other

       US Bank                                                XXXX-4508                     Checking                  5/15/19                         $112.00
                                                                                            Savings
                                                                                            Money Market
                                                                                            Brokerage
                                                                                            Other

       Wells Fargo                                            XXXX-6086                     Checking                  3/28/2019                         $0.00
                                                                                            Savings
                                                                                            Money Market
                                                                                            Brokerage
                                                                                            Other

       Wells Fargo                                            XXXX-6094                     Checking                  5/28/19                           $0.00
                                                                                            Savings
                                                                                            Money Market
                                                                                            Brokerage
                                                                                            Other

       Wells Fargo                                            XXXX-5058                     Checking                  3/25/19                           $0.00
                                                                                            Savings
                                                                                            Money Market
                                                                                            Brokerage
                                                                                            Other

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                Who else had access to it?             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State                                       have it?
                                                                    and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                     Who else has or had access             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)           to it?                                                                     have it?
                                                                    Address (Number, Street, City, State
                                                                    and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 10

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            Case 19-00717-JMM                        Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                     Desc Main
                                                                Document      Page 59 of 67
 Debtor 1
 Debtor 2     True, Matthew Carter & True, Sara Michele                                                       Case number (if known)


      someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                Where is the property?                     Describe the property                         Value
       Address (Number, Street, City, State and ZIP Code)          (Number, Street, City, State and ZIP
                                                                   Code)

 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you       Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you       Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
       Case Title                                                  Court or agency                            Nature of the case                  Status of the
       Case Number                                                 Name                                                                           case
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 11

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            Case 19-00717-JMM                        Doc 1       Filed 06/26/19 Entered 06/26/19 11:18:55                                 Desc Main
                                                                Document      Page 60 of 67
 Debtor 1
 Debtor 2      True, Matthew Carter & True, Sara Michele                                                  Case number (if known)


            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                         Describe the nature of the business              Employer Identification number
        Address                                                                                                Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                               Dates business existed
        FlyTrue Transport LLC                                 Transportation                                   EIN:         XX-XXXXXXX
        321 S Cotterell Dr
        Boise, ID 83709-0312                                  Deanna Gildea - TADAccounting                    From-To      5/13/13 - 4/11/2019

        Carter Family LLC                                     The Kenneth E. Carter and                        EIN:         XX-XXXXXXX
                                                              Shirley R. Carter Family LLC -
                                                              Debtor's 4.98% membership                        From-To
                                                              interest in The Kenneth E. Carter
                                                              and Shirley R. Carter Family LLC



        True Enterprises 7 Inc                                Brokering and local                              EIN:         XX-XXXXXXX
        321 S Cotterell Dr                                    transportation
        Boise, ID 83709-0312                                                                                   From-To      3/6/2012-present
                                                              Deanna Gildea - TADAccounting

        FlyTrue Trucking LLC                                  Transportation                                   EIN:         XX-XXXXXXX
        321 S Cotterell Dr
        Boise, ID 83709-0312                                  Deanna Gildea - TADAccounting                    From-To      11/18/2014 - 2/27/2018


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                  Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Matthew True                                                      /s/ Sara True
 Matthew Carter True                                                   Sara Michele True
 Signature of Debtor 1                                                 Signature of Debtor 2

 Date      June 21, 2019                                               Date      June 21, 2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 12

Software Copyright (c) 2019 CINGroup - www.cincompass.com
              Case 19-00717-JMM                      Doc 1         Filed 06/26/19 Entered 06/26/19 11:18:55                          Desc Main
                                                                  Document      Page 61 of 67

              Fill in this information to identify your case:

 Debtor 1                  Matthew Carter True
                           First Name                       Middle Name                Last Name

 Debtor 2                  Sara Michele True
 (Spouse if, filing)       First Name                       Middle Name                Last Name


 United States Bankruptcy Court for the:            DISTRICT OF IDAHO, BOISE DIVISION

 Case number
 (if known)
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                        12/15


If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                secures a debt?                                     as exempt on Schedule C?



    Creditor's         Key Bank                                            Surrender the property.                               No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a Reaffirmation    Yes
    Description of       321 S Cotterell Dr, Boise, ID                       Agreement.
    property             83709-0312                                        Retain the property and [explain]:
    securing debt:                                                         Retain and pay pursuant to contract


    Creditor's         Key Bank                                            Surrender the property.                               No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a Reaffirmation    Yes
    Description of       2018 Big Tex 22 GN Trailer                          Agreement.
    property                                                               Retain the property and [explain]:
    securing debt:                                                         Retain and pay pursuant to contract


    Creditor's         Pioneer Federal Credit Union                        Surrender the property.                               No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a Reaffirmation    Yes
    Description of       2017 KTM 300 XCW Dirt bike                          Agreement.
    property                                                               Retain the property and [explain]:

Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                        page 1

Software Copyright (c) 2019 CINGroup - www.cincompass.com
            Case 19-00717-JMM                        Doc 1      Filed 06/26/19 Entered 06/26/19 11:18:55                                Desc Main
                                                               Document      Page 62 of 67

 Debtor 1
 Debtor 2      True, Matthew Carter & True, Sara Michele                                             Case number (if known)


     securing debt:                                                      Retain and pay pursuant to contract


     Creditor's    Wells Fargo                                          Surrender the property.                                    No
     name:                                                              Retain the property and redeem it.
                                                                        Retain the property and enter into a Reaffirmation         Yes
     Description of    321 S Cotterell Dr, Boise, ID                       Agreement.
     property          83709-0312                                       Retain the property and [explain]:
     securing debt:                                                      Retain and pay pursuant to contract

 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Matthew True                                                           X /s/ Sara True
       Matthew Carter True                                                            Sara Michele True
       Signature of Debtor 1                                                          Signature of Debtor 2

       Date        June 21, 2019                                                  Date      June 21, 2019



Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                        page 2

Software Copyright (c) 2019 CINGroup - www.cincompass.com
Case 19-00717-JMM   Doc 1    Filed 06/26/19 Entered 06/26/19 11:18:55   Desc Main
                            Document      Page 63 of 67




     ADSComenityVictoria
     PO Box 182789
     Columbus, OH 43218-2789


     Ambry Genetics
     15 Argonaut
     Aliso Viejo, CA        92656-1423


     Best Buy Credit Service
     PO Box 790441
     Saint Louis, MO 63179-0441


     CBNA
     PO Box 6497
     Sioux Falls, SD        57117-6497


     Chase Card
     201 N Walnut St
     Wilmington, DE 19801-2920


     Dana True
     2758 N Lakeharbor Ln
     Boise, ID 83703-6240


     EDFIN/ESA
     120 N Seven Oaks Dr
     Knoxville, TN 37922-2359
Case 19-00717-JMM   Doc 1    Filed 06/26/19 Entered 06/26/19 11:18:55   Desc Main
                            Document      Page 64 of 67




     FM/NELNET 2
     121 S 13th St
     Lincoln, NE 68508-1904


     Home Depot Credit Services
     PO Box 790328
     Saint Louis, MO 63179-0328


     Key Bank
     Attn: Loan Client Servces
     PO Box 5788
     Cleveland, OH 44101-0788


     Key Bank
     3144 E State St
     Eagle, ID 83616-6232


     KeyBank
     Attn: Loan Client Serv
     PO Box 5788
     Cleveland, OH 44101-0788


     KeyBankNA
     4910 Tiedeman Rd
     Cleveland, OH 44144-2338


     Les Bois Neurology
     3875 E Overland Rd
     Meridian, ID 83642-9005
Case 19-00717-JMM   Doc 1    Filed 06/26/19 Entered 06/26/19 11:18:55   Desc Main
                            Document      Page 65 of 67




     Macys
     Bankruptcy Processing
     PO Box 8218
     Mason, OH 45040-8218


     Matt Brown
     PO Box 10129
     Aspen, CO 81612-7315


     Pioneer Federal Credit Union
     250 W 3rd S
     Mountain Home, ID 83647-2640


     Shane Hurley
     7157 E Rancho Vista Dr Unit 5003
     Scottsdale, AZ 85251-1647


     St Alphonsus
     Attn: Patient Accounts
     1055 N Curtis Rd
     Boise, ID 83706-1309


     St Luke's
     PO Box 2578
     Boise, ID 83701-2578


     St Luke's Rehab
     600 N Robbins Rd
     Boise, ID 83702-4565
Case 19-00717-JMM   Doc 1    Filed 06/26/19 Entered 06/26/19 11:18:55   Desc Main
                            Document      Page 66 of 67




     SYNCB Lowes
     PO Box 965005
     Orlando, FL 32896-5005


     SYNCB TJX
     PO Box 965015
     Orlando, FL 32896-5015


     Synchrony Bank
     Attn: Bankruptcy Dept
     PO Box 965036
     Orlando, FL 32896-5036


     TD Bank USA
     PO Box 673
     Minneapolis, MN        55440-0673


     US Bank
     PO Box 108
     Saint Louis, MO        63166-0108


     US Bank
     PO Box 6335
     Fargo, ND 58125-6335


     US Bank
     Bankruptcy/Recovery Dept
     PO Box 5229
     Cincinnati, OH 45201-5229
Case 19-00717-JMM   Doc 1    Filed 06/26/19 Entered 06/26/19 11:18:55   Desc Main
                            Document      Page 67 of 67




     Wells Fargo
     PO Box 14517
     Des Moines, IA     50306-3517


     Wells Fargo
     108 E Plaza St
     Eagle, ID 83616-5976


     WF Business Direct
     PO Box 348750
     Sacramento, CA 95834-8750


     WF Business SBL
     PO Box 29482
     Phoenix, AZ 85038-9482


     WF Card Service
     PO Box 14517
     Des Moines, IA 50306-3517


     WFHM
     PO Box 10335
     Des Moines, IA     50306-0335


     Zions
     PO Box 30709
     Salt Lake City, UT        84130-0709
